 8:07-cr-00073-LSC-SMB              Doc # 41   Filed: 05/19/08   Page 1 of 1 - Page ID # 55




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )             8:07CR73
                       Plaintiff,                   )
                                                    )
       vs.                                          )             ORDER
                                                    )
EUGENIO CAMACHO-PARRAL,                             )
                                                    )
                       Defendant.                   )
       This matter is before the court on the motion for an extension of time by defendant
Eugenio Camacho-Parral (Camacho-Parral) (Filing No. 39).             Camacho-Parral seeks
additional time in which to file pretrial motions in accordance with the progression order.
Camacho-Parral has filed an affidavit wherein he consents to the motion and acknowledges
he understands the additional time may be excludable time for the purposes of the Speedy
Trial Act.   Camacho-Parral’s counsel represents that government’s counsel has no
objection to the motion. Upon consideration, the motion will be granted.
       IT IS ORDERED:
       Defendant Camacho-Parral's motion for an extension of time (Filing No. 39) is
granted. Camacho-Parral is given until on or before June 16, 2008, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between May 20, 2008 and June 16, 2008, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 19th day of May, 2008.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
